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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                         Criminal No. 12-295(1) (PAM/AJB)

UNITED STATES OF AMERICA,

                    Plaintiff,
                                                   GOVERNMENT’S POSITION
v.
                                                      ON SENTENCING
ERIC WADE FORCIER,

                    Defendant.


      COMES NOW the United States of America, by and through its undersigned

attorneys, B. Todd Jones, United States Attorney for the District of Minnesota, and Allen

A. Slaughter and Amber M. Brennan, Assistant United States Attorneys, and submits the

following position on sentencing.

      On April 2, 2013, Defendant pled guilty pursuant to Rule 11(c)(1)(C) to each of

the Counts alleged in a four-count Information. Count 1 of the Information alleged

Interference with Commerce by Robbery on October 22, 2013, in violation of 18 U.S.C.

§§ 2 and 1951. Count 2 alleged Interference with Commerce by Robbery on October 29,

2013, in violation of 18 U.S.C. §§ 2 and 1951. Count 3 alleged Using, Carrying, and

Brandishing a Firearm During a Robbery on October 29, 2013, in violation of 18 U.S.C.

§ 924(c). Count 4 alleged Felon in Possession of a Firearm on October 29, 2012, in

violation of 18 U.S.C. § 922(g)(1) and 924(a)(2). On April 2, 2013, Defendant also

stipulated to and admitted facts regarding three additional offenses that may for

sentencing purposes be treated as offenses of conviction. U.S.S.G. §1B1.2(c).
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        In Defendant’s plea agreement, the parties anticipated a guideline range of

imprisonment of 224-259 months imprisonment and agreed to jointly recommend a

sentence of 240 months imprisonment.            The PSR also concluded that the guidelines

range for 224-259 months imprisonment. 1 PSR ¶ 153. The Government asks the Court

to impose a sentence of 240 months imprisonment, as this sentence comports with the

parties’ agreement and is consistent with the factors found under Section 3553(a).

   I.      Discussion

        The Court must determine what constitutes a reasonable sentence as guided by the

factors of Title 18, United States Code, Section 3553(a). As a first step, the Court must

determine the applicable Sentencing Guidelines. Although the Guidelines are advisory,

the Court must “remain cognizant of them throughout the sentencing process.” Gall v.

United States, 552 U.S. 38, 50 n.6 (2007). Indeed, a court may “‘rest [its] decision upon

the Commission’s own reasoning that the Guidelines sentence is a proper sentence (in

terms of § 3553(a) and other congressional mandates) in the typical case’ if the court

finds that the case before it is typical.”    United States v. Robinson, 516 F.3d 716, 718

(8th Cir. 2008) (quoting Rita v. United States, 551 U.S. 338, 357 (2007)). In addition to

considering the Guidelines, Section 3553(a) requires the Court to analyze a number of

factors, including the nature and circumstances of the offense, the history and

circumstances of the defendant, the need for the sentence to reflect the seriousness of the



1 The  plea agreement and PSR guideline calculations differ slightly because the PSR contemplates a
two-level obstruction of justice adjustment for Count 1. PSR ¶¶ 41, 155. However, after grouping
this increase does not change the overall total offense level or guideline range anticipated in the
plea agreement.

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offense, the need for deterrence, the need to protect the public from further crimes of the

defendant, and the need to avoid unwarranted disparities. 18 U.S.C. § 3553(a).

   II.       The Nature and Circumstances of the Offense

          On April 2, 2013, Defendant admitted he knowingly and voluntarily robbed five

separate businesses in October 2012. Defendant brandished a firearm during each of the

robberies, except the Eddy’s Bar & Grill robbery. Defendant admitted that during that

October 22, 2012, offense, he pointed a handgun at several patrons and fired the weapon

into the ceiling as he demanded cash money from an Eddy’s employee.

   III.      The Criminal History of the Defendant

          Defendant’s contact with the criminal justice system began at the age of 14. PSR

¶ 87. As a juvenile, he amalgamated convictions for damage to property, shoplifting, and

careless/reckless driving. PSR ¶¶ 87-90. He was also arrested for felony second degree

burglary, receiving stolen property, as well as underage consumption. PSR ¶¶ 91-92. As

an adult, the Defendant’s conduct continued, collecting convictions for inattentive driving

(2004), underage drinking and driving (2005), a fifth degree controlled substance crime

(2005), driving after suspension (2005), possession of brass knuckles and marijuana in a

motor vehicle (2006), theft (2 counts in 2006), financial transaction card fraud (2006),

minor consumption (2006), disorderly conduct (2006), fifth degree controlled substance

and fleeing police in a motor vehicle (2006), obstruction (2006), possession of stolen

property (2007), check forgery (2008), second degree drug possession (2008), as well as

receiving stolen property and operating a motor vehicle under the influence (2009). PSR

¶¶ 93-108. This extensive resume results in a criminal history score of 23. PSR ¶ 109.

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   IV.      The Characteristics of the Defendant

         According to the PSR, Defendant did not know his father growing up and his

mother did not engage in relationships that provided a male role model. PSR ¶¶ 117,

119. Defendant’s mother raised him, and he reports he was not want for food, clothing or

shelter, nor was he abused. PSR ¶ 121. Defendant is physically healthy despite at least

one serious motor vehicle accident in 2008. PSR ¶¶ 129. He has had a history of mental

and emotional health-related issues. PSR ¶¶ 131-133.       He has also used alcohol and

certain controlled substances since the fifth grade (age 12), but his drug of choice has

been methamphetamine, which he began using at age 13. PSR ¶¶ 134-137. Defendant has

undergone treatment on two occasions, however these interventions have had not had a

significant impact on his abuse of chemicals – especially methamphetamine. PSR ¶¶ 137-

141. The only lengthy period of time away from substance abuse was when he was

incarcerated. PSR ¶¶ 140-141.

   V.       Sentencing Recommendation

         Defendant appears before this Court having accepted responsibility for

participating in his criminal activities. A sentence of 240 months is reasonable, however,

as it appropriately balances the nature and circumstances of his multiple offenses, his

criminal history, and his characteristics. While a significant sentence, 240 months of

prison time will serve the needs of sentencing to reflect the seriousness of the offenses

involved, promote respect for the law, provide just punishment for the offenses, afford

adequate deterrence, protect the public from further crimes by Defendant, and avoid

unwarranted sentencing disparities among defendants.

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Dated: June 24, 2013                     Respectfully submitted,

                                         B. TODD JONES
                                         United States Attorney

                                         s/ Allen A. Slaughter

                                         BY: ALLEN A. SLAUGHTER, JR.
                                         Assistant United States Attorney
                                         Attorney ID No. 301668




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